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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiff,                      )               ORDER
                                               )
       vs.                                     )
                                               )               Case No. 4:13-cr-066-20
Justin Lloyd Price,                            )
                                               )
               Defendant.                      )

       On August 9, 2013, the court issued an order granting defendant’s motion for release and

releasing defendant to the custody of his mother, Connie Price, pending completion of a substance

abuse evaluation and in anticipation of his acceptance into a residential treatment program at North

Central Human Service Center (“NCHSC”) in Minot, North Dakota. In so doing, the court

reinstated the conditions of release set forth in its order of April 4, 2013.

       On August 14, 2013, the parties advised the court that the NCHSC had completed his

evaluation of defendant and recommended that he participate in an outpatient as opposed to

residential treatment program. The Government further advised that it had no objection to defendant

attending treatment on an outpatient basis. Accordingly, the court ORDERS that defendant shall

remain in his mother’s custody and reside at his mother’s residence pending further order of the

court, that he comply with the conditions of release set forth in the court’s order of April 4, 2013,

and that he immediately contact the Pretrial Services Officer to obtain whatever reporting

instructions the Pretrial Services Officer believes are appropriate.

       Dated this 15th day of August, 2013.

                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr., Magistrate Judge
                                                       United States District Court
